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 8                              IN THE UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                         2:14-CR-00220-KJM
12                 Plaintiff,
                                                       PRELIMINARY ORDER OF
13          v.                                         FORFEITURE
14   PHILLIP CHAO,
15                 Defendant.
16

17          Based upon the plea agreement entered into between plaintiff United States of America and

18 defendant Phillip Chao, it is hereby ORDERED, ADJUDGED AND DECREED as follows:

19          1.     Pursuant to 21 U.S.C. § 853(a), defendant Phillip Chao’s interest in the following

20 property shall be condemned and forfeited to the United States of America, to be disposed of

21 according to law:

22                 a.      Approximately $58,109.00 in U.S. Currency,
                   b.      Approximately $25,060.00 in U.S. Currency,
23                 c.      2012 Mercedes ML 350, VIN: 4JGDA5HB5CA025035, California License
                           Number: 7ETE651,
24                 d.      2011 BMW 528i, VIN: WBAFR1C5XBDV82761, California License
                           Number: 6YWZ998,
25                 e.      $7,000.00 in U.S. Postal Service Money orders,
                   f.      Approximately $18,795.00 in U.S. Currency, and
26                 h.      Approximately $20,000.00 in U.S. Currency.
27          2.     The above-listed property was used or intended to be used to commit or to promote

28 the commission of violations of 21 U.S.C. §§ 846 and 841(a).
                                                    1
                                                                               Preliminary Order of Forfeiture
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 1          3.      Pursuant to Rule 32.2(b), the Attorney General (or a designee) shall be authorized to

 2 seize the above-listed property. The aforementioned property shall be seized and held by the United

 3 States, in its secure custody and control.

 4          4.      a.      Pursuant to 21 U.S.C. § 853(n) and Local Rule 171, the United States shall

 5 publish notice of the order of forfeiture. Notice of this Order and notice of the Attorney General’s

 6 (or a designee’s) intent to dispose of the property in such manner as the Attorney General may direct

 7 shall be posted for at least 30 consecutive days on the official internet government forfeiture site

 8 www.forfeiture.gov. The United States may also, to the extent practicable, provide direct written

 9 notice to any person known to have alleged an interest in the property that is the subject of the order

10 of forfeiture as a substitute for published notice as to those persons so notified.

11                  b.      This notice shall state that any person, other than the defendant, asserting a\

12 legal interest in the above-listed property, must file a petition with the Court within sixty (60) days

13 from the first day of publication of the Notice of Forfeiture posted on the official government

14 forfeiture site, or within thirty (30) days from receipt of direct written notice, whichever is earlier.

15          5.      If a petition is timely filed, upon adjudication of all third-party interests, if any, this

16 Court will enter a Final Order of Forfeiture pursuant to 21 U.S.C. § 853(a), in which all interests will

17 be addressed.

18          SO ORDERED this 2nd day of February, 2016.

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                                                              UNITED STATES DISTRICT JUDGE
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                                                                                     Preliminary Order of Forfeiture
